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  8                            UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11 HWAN KIM,                                    Case No.: 2:21-cv-05358 MWF (JPRx)
                                                 Assigned to Michael W. Fitzgerald
 12               Plaintiff,
                                                 ORDER GRANTING DISMISSAL OF
 13         vs.                                  THE ENTIRE ACTION
 14 SHAREL, LLC; and DOES 1 to 10,

 15
                  Defendants.
 16

 17         Based on the request from Plaintiff and for good cause shown:
 18         IT IS HEREBY ORDERED that the entire action be dismissed without
 19   prejudice with the Court to retain jurisdiction up until November 27, 2021.
 20         IT IS SO ORDERED.
 21

 22   Dated: October 29, 2021               _____________________________________
                                            MICHAEL W. FITZGERALD
 23
                                            United States District Judge
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                                              ORDER
